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                            DEFENDANTS’ RESPONSE TO DKT. 419
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 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No. 3:18-cr-04683-GPC
                                                Hon. Gonzalo P. Curiel
12         Plaintiff,
13                                              DEFENDANTS’ RESPONSE TO DKT. 419
     v.
14
     JACOB BYCHAK, et al.
15
           Defendants.
16
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18         The Court ordered Defendants to “submit a brief in camera explaining reciprocal
19 discovery provided to the government.” Dkt. 419. Defendants file the instant response on
20 the public docket as none of the information contained herein needs to be maintained in
21 camera.
22         On March 10, 2022, in compliance with this Court’s order at Dkt. 289, Defendants
23 produced more than 1,300 pages of reciprocal discovery. A table summarizing the contents
24 of that production is in the record at Dkt. 352-1.
25         This production was litigated during the motions in limine. The government filed a
26 motion arguing that “evidence regarding the law should be excluded.” Dkt. 352 at 6-7. In
27 response, Defendants explained that the government was “conflat[ing] what was produced
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     Case 3:18-cr-04683-GPC Document 421 Filed 05/14/22 PageID.6449 Page 3 of 6



 1 in reciprocal discovery as potentially relevant material with what Defendants will determine
 2 is necessary to present in their case-in-chief, if at all, at trial. Defendants understand the
 3 Federal Rules of Evidence and intend to comply with those rules as it relates to the
 4 presentation of evidence to the jury.” Dkt. 374 at 7. The Court deferred the motion until
 5 trial. Dkt. 382.
 6         On May 12, 2022, in compliance with this Court’s order at Dkt. 406, Defendants
 7 produced additional reciprocal discovery and an exhibit list. Dkt. 417, 417-1. Defendants’
 8 exhibit list did not contain any of the cases, legislative history, or regulations previously
 9 produced. At this time, Defendants do not intend to introduce any of this evidence. If,
10 however, the evidence presented in the government’s case in chief, and in particular, the
11 testimony of its experts who are expected to opine on whether IP addresses are property
12 and how ARIN interpreted the CAN-SPAM Act of 2003, opens the door to any of
13 Defendants’ first tranche of reciprocal discovery, Defendants may deem it necessary to
14 move to admit some of this evidence and can raise it with the Court at that time.
15         Defendants understand and will comply with the Federal Rules of Evidence and this
16 Court’s orders about the admissibility of evidence and the province of the Court versus the
17 jury, and Defendants’ exhibit list does not contain any of the first tranche of reciprocal
18 discovery. Should the Court have further questions or require further briefing, Defendants
19 will of course answer and comply with any orders.
20
21                                              Respectfully submitted,
22 Dated: May 14, 2022                         BIENERT KATZMAN LITTRELL
23                                             WILLIAMS LLP
24                                             By: /s/ Whitney Z. Bernstein
25                                                  Thomas H. Bienert, Jr.
                                                    James D. Riddet
26                                                  Whitney Z. Bernstein
27                                                  Carlos A. Nevarez
                                                    Attorneys for Mohammed Abdul Qayyum
28

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                               DEFENDANTS’ RESPONSE TO DKT. 419
     Case 3:18-cr-04683-GPC Document 421 Filed 05/14/22 PageID.6450 Page 4 of 6



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 3                                        By: /s/ Randy K. Jones
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 4                                            Daniel J. Goodrich (Pro Hac)
 5                                            Ryan Dougherty (Pro Hac)
                                              Attorneys for Mark Manoogian
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 7 Dated: May 14, 2022                    WIECHERT, MUNK & GOLDSTEIN, PC

 8                                        By: /s/ Jessica C. Munk
                                              David W. Wiechert
 9                                            Jessica C. Munk
10                                            Attorneys for Jacob Bychak
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     Dated: May 14, 2022                   BIRD, MARELLA, BOXER, WOLPERT,
12                                         NESSIM, DROOKS, LINCENBERG &
                                           RHOW, P.C.
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                                           By: /s/ Gary S. Lincenberg
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                           DEFENDANTS’ RESPONSE TO DKT. 419
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 1           CERTIFICATION OF AUTHORIZATION TO SIGN SIGNATURE
 2         The undersigned counsel of record for Mohammed Abdul Qayyum certifies that the
 3 content of this document is acceptable to each of the Defendants’ counsel whose electronic
 4 signature appears thereon, and that I have obtained their authorization to sign this document
 5 on their behalf.
 6
 7                                                /s/ Whitney Z. Bernstein
                                                      Whitney Z. Bernstein
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                                            1                      3:18-cr-04683-GPC
                      CERTIFICATE OF AUTHORIZATION TO SIGN SIGNATURE
     Case 3:18-cr-04683-GPC Document 421 Filed 05/14/22 PageID.6452 Page 6 of 6



 1                             CERTIFICATE OF SERVICE
 2        Counsel for the Defendant certifies that the foregoing pleading has been
 3 electronically served on the following parties by virtue of their registration with the
 4 CM/ECF system:
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13                               U.S. Department of Justice
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                                   Washington, DC 20530
15                               candina.heath2@usdoj.gov
16
17                                           Respectfully submitted,

18
     Dated: May 14, 2022                    By: /s/ Whitney Z. Bernstein
19                                               Whitney Z. Bernstein
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                                            1                              3:18-cr-04683-GPC
                                  CERTIFICATE OF SERVICE
